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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. Nos. 233, 487, 750, 751, 1341 & 1342


                              NOTICE OF FILING BLACKLINE OF
                          PROPOSED LEDGERX BUSINESS SALE ORDER

                PLEASE TAKE NOTICE that on December 15, 2022, FTX Trading Ltd. and its
affiliated debtors and debtors-in-possession (the “Debtors”) filed the Motion of Debtors for Entry
of Orders (I)(A) Approving Bid Procedures, Stalking Horse Protections and the Form and Manner
of Notices for the Sale of the Certain Businesses; (B) Approving Assumption and Assignment
Procedures and (C) Scheduling Auction(s) and Sale Hearing(s) and (II)(A) Approving the Sale(s)
Free and Clear of Liens, Claims, Interests and Encumbrances and (B) Authorizing Assumption and
Assignment of Executory Contracts and Unexpired Leases [D.I. 233] in the United States
Bankruptcy Court for the District of Delaware (the “Court”).

              PLEASE TAKE FURTHER NOTICE that on January 12, 2023, the Court
entered the Order (A) Approving Bid Procedures, Stalking Horse Procedures and the Form and
Manner of Notices for the Sale of Certain Businesses, (B) Approving Assumption and Assignment
Procedures and (C) Scheduling Auction(s) and Sale Hearing(s) [D.I. 487].

               PLEASE TAKE FURTHER NOTICE that on February 21, 2023, the Debtors
filed the Notice of Filing of (I) Proposed LedgerX Business Sale Order and (II) Form of LedgerX
Business Purchase Agreement [D.I. 751], attaching as Exhibit 1 thereto a proposed form of sale
order for the LedgerX Business (the “Form LedgerX Sale Order”).

                PLEASE TAKE FURTHER NOTICE that on April 25, 2023, the Debtors filed
the Notice of (I) Successful Bidder for the LedgerX Business and (II) Filing of the LedgerX
Business Purchase Agreement [D.I. 1342], attaching as Exhibit B thereto a revised proposed form
of sale order for the LedgerX Business (the “Proposed LedgerX Sale Order”).




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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             PLEASE TAKE FURTHER NOTICE that the Debtors hereby file a copy of the
Proposed LedgerX Sale Order compared against the Form LedgerX Sale Order, attached hereto as
Exhibit A.

                 PLEASE TAKE FURTHER NOTICE that copies of the above referenced
filings may be obtained from the Court’s website, https://ecf.deb.uscourts.gov/, for a nominal
fee, or obtained free of charge by accessing the website of the Debtors’ claims and noticing agent
at https://restructuring.ra.kroll.com/FTX/.


Dated: May 1, 2023                         LANDIS RATH & COBB LLP
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